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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE: PARAGARD PRODUCTS                   :    MDL DOCKET NO. 2974
 LIABILITY LITIGATION                       :
                                            :
 This document relates to:                  :   1:20-md-02974-LMM
                                            :
                                            :
 BETHANY WILLIAMS                           :
                                            :    Civil Action No.: ________________
                                            :
 vs.                                        :
                                            :
 7(9$3+$50$&(87,&$/6                      :
 86$,1&(7$/                          :
 ______________________________             :


                           SHORT FORM COMPLAINT

       Come(s) now the Plaintiff(s) named below, and for her/their Complaint

against the Defendant(s) named below, incorporate(s) the Second Amended Master

Personal Injury Complaint (Doc. No. 79), in MDL No. 2974 by reference.

Plaintiff(s) further plead(s) as follows:

       1.                                              Bethany Williams
               Name of Plaintiff placed with Paragard: _______________________

               ________________________________________________________

       2.                                                           N/a
               Name of Plaintiff’s Spouse (if a party to the case): _______________
               ________________________________________________________
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3.      If case is brought in a representative capacity, Name of Other Plaintiff
        and capacity (i.e., administrator, executor, guardian, conservator):
        N/a
        ________________________________________________________
        ________________________________________________________


4.      State of Residence of each Plaintiff (including any Plaintiff in a
        representative capacity) at time of filing of Plaintiff’s original
        complaint:   New Mexico
                     ______________________________________________
        _________________________________________________________


5.      State of Residence of each Plaintiff at the time of Paragard placement:
        New Mexico
        ________________________________________________________


6.      State of Residence of each Plaintiff at the time of Paragard removal:
        New Mexico
        ________________________________________________________


7.      District Court and Division in which personal jurisdiction and venue
        would be proper:
        U.S. District Court for the District of New Mexico
        ________________________________________________________
        ________________________________________________________


8.      Defendants. (Check one or more of the following five (5) Defendants
        against whom Plaintiff’s Complaint is made. The following five (5)
        Defendants are the only defendants against whom a Short Form
        Complaint may be filed. No other entity may be added as a defendant
        in a Short Form Complaint.):


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     ✔       A. Teva Pharmaceuticals USA, Inc.
    ✔        B. Teva Women’s Health, LLC
    ✔        C. Teva Branded Pharmaceutical Products R&D, Inc.
    ✔        D. The Cooper Companies, Inc.
    ✔        E. CooperSurgical, Inc.


     9.      Basis of Jurisdiction
    ✔        Diversity of Citizenship (28 U.S.C. § 1332(a))
             Other (if Other, identify below):
             ________________________________________________________
     10.

Date(s) Plaintiff    Placing               Date Plaintiff’s         Removal
had Paragard         Physician(s) or       Paragard was Removed Physician(s) or other
placed               other Health Care     (DD/MM/YYYY)*            Health Care Provider
(DD/MM/YYYY)         Provider (include                              (include City and
                                           *If multiple removal(s)
                     City and State)                                State)**
                                           or attempted removal
                                           procedures, list date of **If multiple
                                           each separately.         removal(s) or
                                                                    attempted removal
                                                                    procedures, list
                                                                    information
                                                                    separately.

07/13/2010           Presbyterian Family 05/24/2017                Unable to recall HCP
                     Medicine                                      Albuquerque, NM
                     Albuquerque, NM




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 11.          Plaintiff alleges breakage (other than thread or string breakage) of her
              Paragard upon removal.
  ✔           Yes
              No


 12.          Brief statement of injury(ies) Plaintiff is claiming: As a direct and proximate result of
Defendants' conduct, Plaintiff suffered and continues to suffer significant bodily and mental injuries, including but not limited to pain and
              ________________________________________________________
suffering, mental anguish, disfigurement, embarrassment, inconvenience, loss of earnings, loss of reproductive health, and past and potential future medical expenses.
              ________________________________________________________
              Plaintiff reserves her right to allege additional injuries and
              complications specific to her.


 13.          Product Identification:
              a. Lot Number of Paragard placed in Plaintiff (if now known):
                     Unknown
                     _________________________________________________
              b. Did you obtain your Paragard from anyone other than the
                     HealthCare Provider who placed your Paragard:
                           Yes
           ✔               No


 14.          Counts in the Master Complaint brought by Plaintiff(s):
 ✔            Count I – Strict Liability / Design Defect
 ✔            Count II – Strict Liability / Failure to Warn
 ✔            Count III – Strict Liability / Manufacturing Defect
 ✔            Count IV – Negligence
 ✔            Count V – Negligence / Design and Manufacturing Defect
✔             Count VI – Negligence / Failure to Warn


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✔       Count IX – Negligent Misrepresentation
✔       Count X – Breach of Express Warranty
✔       Count XI – Breach of Implied Warranty
✔      Count XII – Violation of Consumer Protection Laws
✔      Count XIII – Gross Negligence
✔      Count XIV – Unjust Enrichment
✔      Count XV – Punitive Damages
       Count XVI – Loss of Consortium
       Other Count(s) (Please state factual and legal basis for other claims
not included in the Master Complaint below):
_____________________________________________________________
_____________________________________________________________

15.    “Tolling/Fraudulent Concealment” allegations:
       a.         Is Plaintiff alleging “Tolling/Fraudulent Concealment”?
         ✔        Yes
                  No
       b.         If Plaintiff is alleging “tolling/fraudulent concealment” beyond
                  the facts alleged in the Master Complaint, please state the facts
                  and legal basis applicable to the Plaintiff in support of those
                  allegations below:
      On information and belief, prior to having the Paragard IUD implanted, Plaintiff's healthcare providers told her the Paragard
       ________________________________________________________
      IUD was safe, effective, reliable, Plaintiff did not realize that she might have a cause of action regarding
       _______________________________________________________
      the Paragard IUD. She contacted her lawyers after learning she might have a claim.




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16.   Count VII (Fraud & Deceit) and Count VIII (Fraud by Omission)
      allegations:
      a.     Is Plaintiff is bringing a claim under Count VII (Fraud &
             Deceit), Count VIII (Fraud by Omission), and/or any other claim
             for fraud or misrepresentation?
      ✔      Yes
             No
      b.     If Yes, the following information must be provided (in
             accordance with Federal Rule of Civil Procedure 8 and/or 9,
             and/or with pleading requirements applicable to Plaintiff’s state
             law claims):
      i.     The alleged statement(s) of material fact that Plaintiff alleges
                        Paragard, a reversible form of birth control, was safe and effective.
             was false: __________________________________________
             Paragard was safe and/or safer than other reversible birth control products on the market.
             ___________________________________________________

      ii.                                      Defendants.
             Who allegedly made the statement: _______________________
             ___________________________________________________
      iii.                                             Plaintiff and her
             To whom the statement was allegedly made: _______________
             healthcare provider who implanted Paragard.
             ___________________________________________________
      iv.    The date(s) on which the statement was allegedly made:
             Defendants' statements are within the Paragard label and marketing
             ___________________________________________________
             materials at all relevant times prior to implantation.

17.   If Plaintiff is bringing any claim for manufacturing defect and alleging
      facts beyond those contained in the Master Complaint, the following
      information must be provided:

       a.    What does Plaintiff allege is the manufacturing defect in her
                       N/a
             Paragard? ___________________________________________

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      18.   Plaintiff’s demand for the relief sought if different than what is
            alleged in the Master Complaint: _____________________________
                                             N/a

            ________________________________________________________


      19.   Jury Demand:
      ✔     Jury Trial is demanded as to all counts
            Jury Trial is NOT demanded as to any count




                                              s/ Nicole Berg
                                                       Attorney(s) for Plaintiff


Address, phone number, email address and Bar information:
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